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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                      Case No. 18-cv-80176

  IRA KLEIMAN,
  as personal representative of
  the estate of David Kleiman,

         Plaintiff,

  v.

  CRAIG WRIGHT,

        Defendant.
  ________________________________________/


                          NOTICE OF APPEARANCE OF COUNSEL

          Please take notice that attorney Amanda L. Fernandez, of the law firm Rivero Mestre
  LLP, appears as attorney for Craig Wright and requests that all pleadings, correspondence and
  related materials in this case be provided to undersigned.

  RESPECTFULLY SUBMITTED on November 22, 2021.

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                                                   By: /s/ Amanda Fernandez_______
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                                  CERTIFICATE OF SERVICE

         I certify that on November 22, 2021, I electronically filed this document with the Clerk of
  the Court using CM/ECF. I also certify that this document is being served today on all counsel of
  record either by transmission of Notices of Electronic Filing generated by CM/ECF or by U.S.
  Mail.


                                                              /s/ Andres Rivero
                                                              ANDRES RIVERO
